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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE

SHANNON O’NEILL                    )
                                   )
                 Plaintiff,        )                   Case No. _____________
    v.                             )
                                   )                   COMPLAINT FOR VIOLATIONS OF
TRANSLATE BIO, INC., OWEN HUGHES, )                    THE FEDERAL SECURITIES LAWS
RONALD C. RENAUD, JR., JEAN-       )
FRANÇOIS FORMELA, ROBERT J. MEYER, )
ROBERT M. PLENGE, DANIELLA         )                   JURY TRIAL DEMANDED
BECKMAN, and GEORGE DEMETRI,       )
                                   )
                 Defendants.       )


       Plaintiff Shannon O’Neill (“Plaintiff”), by and through her undersigned counsel, for her

complaint against defendants, alleges upon personal knowledge with respect to herself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                                     NATURE THE ACTION

       1.      Plaintiff brings this action against Translate Bio, Inc. (“Translate Bio” or the

“Company”), and its corporate directors for violating Sections 14(e) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(e), 78t(a). By the action, Plaintiff

seeks to enjoin the consummation of a tender offer (the “Tender Offer”) pursuant to which Sanofi

S.A. (“Sanofi”) will acquire the Company through its subsidiaries Aventis Inc. (“Aventis”) and
                                                                         1
Vector Merger Sub, Inc. (“Purchaser”) (the “Proposed Transaction.”)




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 Non-party Sanofi is a French multinational pharmaceutical company headquartered in Paris,
France. Non-party Aventis is a Delaware corporation and wholly owned subsidiary of Sanofi.
Non-party Purchaser is a Delaware corporation and a direct, wholly owned subsidiary of Aventis.
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         2.      On August 3, 2021, Translate Bio and Sanofi jointly announced their entry into an

Agreement and Plan of Merger (the “Merger Agreement”) dated August 2, 2021, to sell Translate

Bio to Sanofi. The Merger Agreement provides that Sanofi will acquire all outstanding shares of

Translate Bio for $38.00 in cash per share of Translate Bio common stock (the “Offer Price”).

Pursuant to the Merger Agreement, Purchaser commenced the Tender Offer on August 16, 2021.

The Tender Offer is scheduled to expire at one minute following 11:59 p.m., Eastern Time, on

September 13, 2021.2

         3.      On August 16, 2021, Translate Bio filed a Solicitation/Recommendation Statement

on Schedule 14D-9 (the “Recommendation Statement”) with the SEC. The Recommendation

Statement, which recommends that Translate Bio stockholders tender their stock in the Tender

Offer, omits or misrepresents material information necessary and essential to that decision. The

failure to adequately disclose such material information violates Sections 14(a) and 20(a) of the

Exchange Act as Translate Bio stockholders need such information to make a fully informed

decision whether to approve and tender their shares into the Proposed Transaction.

         4.      It is imperative that the material information omitted from the Recommendation

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

         5.      For these reasons, and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to the Company’s stockholders or, in the event

the Proposed Transaction is consummated.




2   The approximate value of the Proposed Transaction is $3.2 billion.


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                                  JURISDICTION AND VENUE

        6.       This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

        7.       This Court has jurisdiction over the defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

        8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District.

                                           THE PARTIES

        9.       Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

Translate Bio.

        10.      Defendant Translate Bio is a Delaware corporation with its principal executive

offices located at 29 Hartwell Avenue, Lexington, Massachusetts, 02421. Translate Bio is a

clinical-stage messenger RNA (“mRNA”) therapeutics company. Translate Bio’s common stock

is traded on the Nasdaq Global Select Market under the ticker symbol “TBIO.”

        11.      Defendant Owen Hughes (“Hughes”) has been a director of the Company since July

2016.

        12.      Defendant Ronald C. Renaud, Jr. (“Renaud”) has been Chief Executive Officer

(“CEO”) and a director of the Company since November 2014. Defendant Renaud previously

served as President of the Company from November 2014 until March 2021.




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       13.      Defendant Jean-François Formela (“Formela”) has been a director of the Company

since 2011.

       14.      Defendant Robert J. Meyer (“Meyer”) has been a director of the Company since

January 2019.

       15.      Defendant Robert M. Plenge (“Plenge”) has been a director of the Company since

April 2019.

       16.      Defendant Daniella Beckman (“Beckman”) has been a director of the Company

since October 2017.

       17.      Defendant George Demetri (“Demetri”) has been a director of the Company since

July 2019.

       18.      Defendants identified in paragraphs 11-17 are referred to herein as the “Board” or

the “Individual Defendants.”

                               SUBSTANTIVE ALLEGATIONS

The Proposed Transaction

       19.      On August 3, 2021, Translate Bio and Sanofi jointly announced in relevant part:

       PARIS and LEXINGTON, Mass., Aug. 03, 2021 -- As part of Sanofi’s endeavor to
       accelerate the application of messenger RNA (mRNA) to develop therapeutics and
       vaccines, the company has entered into a definitive agreement with Translate Bio
       (NASDAQ: TBIO), a clinical-stage mRNA therapeutics company, under which
       Sanofi will acquire all outstanding shares of Translate Bio for $38.00 per share in
       cash, which represents a total equity value of approximately $3.2 billion (on a fully
       diluted basis). The Sanofi and Translate Bio Boards of Directors unanimously
       approved the transaction.

       “Translate Bio adds an mRNA technology platform and strong capabilities to our
       research, further advancing our ability to explore the promise of this technology to
       develop both best-in-class vaccines and therapeutics,” said Paul Hudson, Sanofi
       Chief Executive Officer. “A fully owned platform allows us to develop additional
       opportunities in the fast-evolving mRNA space. We will also be able to accelerate
       our existing partnered programs already under development. Our goal is to unlock
       the potential of mRNA in other strategic areas such as immunology, oncology, and
       rare diseases in addition to vaccines.”


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   “Sanofi and Translate Bio have a shared commitment to innovation in the mRNA
   space. With Sanofi’s long-standing expertise in developing and commercializing
   vaccines and other innovative medicines on a global scale, Translate Bio’s mRNA
   technology is now even better positioned to reach more people, faster,” said Ronald
   Renaud, Chief Executive Officer, Translate Bio. “The talented and dedicated
   Translate Bio team has built the foundation of a strong mRNA platform. Our
   expertise coupled with that of Sanofi has driven significant progress under the
   collaboration thus far, and we believe that this acquisition will strengthen the team’s
   ability to achieve the full potential of the mRNA technology.”

   In June 2018, Sanofi and Translate Bio entered into a collaboration and exclusive
   license agreement to develop mRNA vaccines which was further expanded in 2020
   to broadly address current and future infectious diseases. There are two ongoing
   mRNA vaccine clinical trials under the collaboration, the COVID-19 vaccine Phase
   1/2 study with results expected in Q3 2021 and the mRNA seasonal influenza
   vaccine Phase 1 trial with results due in Q4 2021. The acquisition builds on
   Sanofi’s establishment of a first-of-its kind vaccines mRNA Center of Excellence.

   On the therapeutic side, Translate Bio has an early-stage pipeline in cystic fibrosis
   and other rare pulmonary diseases. In addition, discovery work is ongoing in
   diseases that affect the liver, and Translate Bio’s MRTTM platform may be applied
   to various classes of treatments, such as therapeutic antibodies or vaccines in areas
   such as oncology. Sanofi’s recent acquisition of Tidal Therapeutics expanded the
   company’s mRNA research capabilities in both immuno-oncology and
   inflammatory diseases. The Translate Bio acquisition further accelerates Sanofi’s
   efforts to develop transformative medicines using mRNA technology.

   Transaction Terms

   Under the terms of the merger agreement, Sanofi will commence a cash tender offer
   to acquire all outstanding shares of Translate Bio common stock for $38.00 per
   share in cash reflecting a total equity value of Translate Bio of approximately $3.2
   billion. The purchase price represents a premium of 56% to Translate Bio’s
   volume-weighted average price per share over the past 60 days.

   To demonstrate their commitment to the transaction, the chief executive officer of
   Translate Bio and Translate Bio’s largest shareholder, The Baupost Group, L.L.C.,
   have signed binding commitments to support the tender offer. These binding
   commitments, combined with the Translate Bio shares already owned by Sanofi or
   its affiliates, represent a total of approximately 30% of Translate Bio’s total shares
   outstanding.

   The consummation of the tender offer is subject to customary closing conditions,
   including the tender of a number of shares of Translate Bio common stock that
   together with shares already owned by Sanofi or its affiliates represents at least a
   majority of the outstanding shares of Translate Bio common stock, the expiration
   or termination of the waiting period under the Hart-Scott-Rodino Antitrust


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       Improvements Act of 1976, and other customary conditions. Following the
       successful completion of the tender offer, a wholly owned subsidiary of Sanofi will
       merge with Translate Bio and the outstanding Translate Bio shares not already
       owned by Sanofi or its affiliates that are not tendered in the tender offer will be
       converted into the right to receive the same $38.00 per share in cash paid in the
       tender offer. The tender offer is expected to commence later this month. Sanofi
       plans to fund the transaction with available cash resources. Subject to the
       satisfaction or waiver of customary closing conditions, Sanofi expects to complete
       the acquisition in the third quarter of 2021.

       Morgan Stanley & Co. International plc is acting as exclusive financial advisor to
       Sanofi while Weil, Gotshal & Manges LLP is acting as legal counsel. Centerview
       Partners is acting as lead financial advisor to Translate Bio in the transaction, while
       Paul, Weiss, Rifkind, Wharton & Garrison LLP is acting as legal counsel. Evercore
       is also acting as a financial advisor in this transaction to Translate Bio. MTS Health
       Partners, LP is also giving financial advice to Translate Bio.

       The Recommendation Statement Contains Material Misstatements and Omissions

       20.    The defendants filed a materially incomplete and misleading Recommendation

Statement with the SEC and disseminated it to Translate Bio’s stockholders.                      The

Recommendation Statement misrepresents or omits material information that is necessary for the

Company’s stockholders to make an informed decision whether to vote their shares in favor of the

Proposed Transaction.

       21.    Specifically, as set forth below, the Recommendation Statement fails to provide

Company stockholders with material information or provides them with materially misleading

information concerning: (a) Translate Bio management’s financial projections; and (b) the data

and inputs underlying the financial valuation analyses that support the fairness opinion provided

by the Company’s financial advisor, Centerview Partners LLC (“Centerview”).

Material Omissions Concerning Translate Bio Management’s Financial Projections

       22.    The Recommendation Statement omits material information regarding Company

management’s financial projections, including the assumptions underlying the “risk-adjusted”




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projections considered by management and Centerview, as well as any projections that do not

reflect these undisclosed assumptions and adjustments. See Recommendation Statement at 26.

       23.       The Recommendation Statement further fails to disclose a breakdown of the

segment level projections for each of the Company’s product candidates, including MRT5005 and

MRT5500.

       24.       The Recommendation Statement fails to disclose the “preliminary” projections

considered by the Board at its June 16 and July 19, 2021 Board meetings (the “Preliminary

Projections”).    Id. at 18, 19.   The Recommendation Statement further omits whether the

Preliminary Projections differ from those on pages 28-29 of the Recommendation Statement. To

the extent that is the case, the Recommindation Statement fails to disclose the Preliminary

Projections or a fair summary of the changes thereto. Defendants also must disclose when the

Board approved the Preliminary Projections for Centerview’s use in connection with rendering its

fairness opinion, if the Preliminary Projections already are set forth in the Recommendation

Statement.

       25.       The omission of this information renders the statements in the “Certain Financial

Projections” and “Background of the Merger” sections of the Recommendation Statement false

and/or materially misleading in contravention of the Exchange Act

Material Omissions Concerning Centerview’s Financial Analyses

       26.       The Recommendation Statement describes Centerview’s fairness opinion and the

various valuation analyses performed in support of its opinion. That description, however, fails to

include key inputs and assumptions underlying these analyses. Without this information, the

Company’s public stockholders are precluded form fully and fairly understanding these analyses.




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As such, they also are precluded from determining how much importance to ascribe to

Centerview’s work in deciding whether to tender their shares.

       27.     With     respect    to   Centerview’s   Discounted    Cash    Flow    Analysis,   the

Recommendation Statement fails to disclose: (a) quantification of the implied terminal value of

the Company; (b) Centerview’s basis for assuming a rate of free cash flow decline of 20% year

over year after December 31, 2049; (c) the inputs and assumptions underlying the discount rate

range of 11.0% to 13.0%; and (iv) the number of fully-diluted outstanding shares of the Company

used in the analysis.

       28.     With respect to Centerview’s Analyst Price Target Analysis, the Recommendation

Statement fails to disclose the price targets observed and the sources thereof.

       29.     With respect to Centerview’s Premia Paid Analysis, the Recommendation

Statement fails to disclose the individual premiums paid in each of the transactions observed by

Centerview.

       30.     The omission of this information renders the statements in the “Opinion of

Centerview Partners LLC” section of the Recommendation Statement false and/or materially

misleading in contravention of the Exchange Act.

       31.     The Individual Defendants were aware of their duty to disclose the above-

referenced omitted information and acted negligently (if not deliberately) in failing to include this

information in the Recommendation Statement. Absent disclosure of the foregoing material

information prior to the expiration of the Tender Offer, Plaintiff and the other Translate Bio

stockholders will be unable to make an informed decision whether to tender their shares in the

Tender Offer or seek appraisal and are thus threatened with irreparable harm warranting the

injunctive relief sought herein.




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                                      CLAIMS FOR RELIEF

                                              COUNT I

                         Claims Against All Defendants for Violations
                   of Section 14(d) of the Exchange Act and SEC Rule 14d-9

       32.     Plaintiff repeats all previous allegations as if set forth in full.

       33.     Defendants have caused the Recommendation Statement to be issued with the

intention of soliciting Translate Bio stockholders to tender their shares in the Tender Offer.

       34.     Section 14(d)(4) of the Exchange Act and SEC Rule 14d-9 promulgated thereunder

require full and complete disclosure in connection with tender offers.

       35.     The Recommendation Statement violates Section 14(d)(4) and Rule 14d-9 because

it omits material facts, including those set forth above, which omission renders the

Recommendation Statement false and/or misleading.

       36.     Defendants knowingly or with deliberate recklessness omitted the material

information identified above from the Recommendation Statement, causing certain statements

therein to be materially incomplete and therefore misleading.               Indeed, while defendants

undoubtedly had access to and/or reviewed the omitted material information in connection with

approving the Proposed Transaction, they allowed it to be omitted from the Recommendation

Statement, rendering certain portions of the Recommendation Statement materially incomplete

and therefore misleading.

       37.     The misrepresentations and omissions in the Recommendation Statement are

material to Plaintiff and the other stockholders of Translate Bio, who will be deprived of their right

to make an informed decision whether to tender their shares or seek appraisal if such

misrepresentations and omissions are not corrected prior to the expiration of the Tender Offer.

Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s equitable



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powers can Plaintiff be fully protected from the immediate and irreparable injury that defendants’

actions threaten to inflict.

                                              COUNT II

     Claims Against All Defendants for Violations of Section 14(e) of the Exchange Act

        38.     Plaintiff repeats all previous allegations as if set forth in full.

        39.     Defendants violated Section 14(e) of the Exchange Act by issuing the

Recommendation Statement in which they made untrue statements of material facts or failed to

state all material facts necessary in order to make the statements made, in light of the circumstances

under which they are made, not misleading, or engaged in deceptive or manipulative acts or

practices, in connection with the Tender Offer.

        40.     Defendants knew that Plaintiff would rely upon their statements in the

Recommendation Statement in determining whether to tender her shares pursuant to the Tender

Offer or seek appraisal.

        41.     As a direct and proximate result of these defendants’ unlawful course of conduct in

violation of Section 14(e) of the Exchange Act, absent injunctive relief from the Court, Plaintiff

has sustained and will continue to sustain irreparable injury by being denied the opportunity to

make an informed decision in deciding whether or not to tender her shares or seek appraisal.



                                              COUNT III

                           Claims Against the Individual Defendants for
                           Violation of Section 20(a) of the Exchange Act

        42.     Plaintiff repeats all previous allegations as if set forth in full.

        43.     The Individual Defendants acted as controlling persons of Translate Bio within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as



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officers or directors of Translate Bio and participation in or awareness of the Company’s

operations or intimate knowledge of the false statements contained in the Recommendation

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading.

       44.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Recommendation Statement and other statements alleged by Plaintiff to be

misleading prior to or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.

       45.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

as alleged herein, and exercised the same. The Recommendation Statement at issue contains the

unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were, thus, directly involved in the making of this document.

       46.     In addition, as the Recommendation Statement sets forth at length, and as described

herein, the Individual Defendants were each involved in negotiating, reviewing, and approving the

Proposed Transaction. The Recommendation Statement purports to describe the various issues

and information that they reviewed and considered — descriptions which had input from the

Individual Defendants.

       47.     By virtue of the foregoing, the Individual Defendants have violated section 20(a)

of the Exchange Act.




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       48.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in her favor on behalf of Translate Bio, and against defendants, as

follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;

       C.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       D.      Granting such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

       Plaintiff demands a trial by jury.

 Dated: August 23, 2021                               LONG LAW, LLC

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